             Case 2:23-ap-01426-DS                      Doc 17 Filed 04/12/24 Entered 04/12/24 13:36:05                                    Desc
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    Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. &         FOR COURT USE ONLY
    Email Address
    Frank E. Marchetti (SBN 203185)
    Marchetti Law
    3731 Wilshire Blvd., Ste. 635
    Los Angeles, CA 90010
    Tel. (626) 676-6377
    Email: frank@marchettilaw.com




          Individual appearing without an attorney
          Attorney for: Complete Industrial Repair, Inc.

                                              UNITED STATES BANKRUPTCY COURT
                                     CENTRAL DISTRICT OF CALIFORNIA – LOS ANGELES DIVISION

    In re:                                                                         CASE NO.: 2:23-ap-01426-DS
                                                                                   CHAPTER: 7
    TOBY TORRES

    ----------------------------------------------------------------------------
    COMPLETE INDUSTRIAL REPAIR, INC.
                               Plaintiff
                                                                                   NOTICE OF LODGMENT OF ORDER IN
    vs.                                                                            BANKRUPTCY CASE RE: (title of motion1):
                                                                                   TRIAL SCHEDULING ORDER
    TOBY EDWARD TORRES
                  Defendant
                                                                    Debtor(s)


PLEASE TAKE NOTE that the order titled TRIAL SCHEDULING ORDER


was lodged on (date) 4/12/24 and is attached. This order relates to the motion which is docket number 1.




1
     Please abbreviate if title cannot fit into text field.

             This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

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                                          PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:



A true and correct copy of the foregoing document entitled: NOTICE OF LODGMENT OF ORDER IN BANKRUPTCY
CASE will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and
(b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
4/12/2024 I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

Richard Heston rheston@hestonlaw.com
Howard M. Ehrenberg (TR) ehrenbergtrustee@gmlaw.com, ca25@ecfcbis.com, C123@ecfcbis.com,
howard.ehrenberg@ecf.courtdrive.com, Karen.Files@gmlaw.com
United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov

                                                                                             Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On (date) 4/12/24, I served the following persons and/or entities at the last
known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed
envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.

Hon. Deborah J. Saltzman
United States Bankruptcy Court
Central District of California
Edward R. Roybal Federal Building and Courthouse

                                                                                             Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                             Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

4/12/24                        Frank E. Marchetti                                                      /s/ Frank E. Marchetti

 Date                            Printed Name                                                    Signature




          This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

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  4
      Attorneys for Creditor Complete Industrial Repair, Inc.
  5

  6                            UNITED STATE BANKRUPTCY COURT

  7                  CENTRAL DISTRICT OF CALIFORNIA (LOS ANGELES)

  8

  9   In re TOBY TORRES,                                  Case No. 2:23-bk-13864-DS
                                                          Chapter 7
 10                     Debtor.                           Adv. No. 2:23-ap-01426-DS
      ____________________________________
 11
                                                          TRIAL SCHEDULING ORDER
 12   COMPLETE INDUSTRIAL REPAIR, INC..
                                                          Discovery Cut-Off:      6/17/24
 13                         Plaintiff,                    Motion Hearing Cut-Off: 7/1/24
           vs.                                            Pre-Trial Order Due:    10/15/24
 14                                                       Pre-Trial Conference:   10/29/24
      TONY TORRES                                         Trial:                  11/12/24
 15

 16

 17          The Court orders the dates as indicated above, and described as follows:
 18          1. Discovery Cut-Off. All discovery must be completed by June 17, 2024. Expert
 19              disclosures shall take place in accordance with the Federal Rules of Civil Procedure.

 20          2. Motion Hearing Cut-Off. All discovery-related motions must be filed by July 1,

 21              2024, to be heard on July 26, 2024.

 22          3. Pre-Trial Conference. The case has been placed on calendar for a Pre-Trial

                 Conference pursuant to Federal Rules of Civil Procedure, Rule 16, on October 29,
 23
                 2024 at 1:00 p.m. The deadline to file and serve a Pre-Trial Order is October 15,
 24
                 2024.
 25

 26

 27                                                  -1-
                                            Trial Scheduling Order
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  1         4. Trial. The trial of this case is scheduled to take place from November 12, 2024

  2            through November 14, 2024, at 10:00 a.m. each date.

  3         IT IS SO ORDERED.

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      Dated:_________________________                    _________________________________
  6                                                      Hon. Deborah Saltzman
                                                         United States Bankruptcy Judge
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                                          Trial Scheduling Order
